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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Appeal from Case No. 1:22-po-07015-MEH

USA;

       Plaintiff,

v.

CHRISTOPHER CORDOVA

       Defendant.



                                    NOTICE OF APPEAL


       Defendant, Christopher Cordova, by and through undersigned counsel, and pursuant to

Rule 58(g)(2)(B) of the Fedearl Rules of Criminal Procedure, hereby gives notice of his appeal

of the final judgment of this court entered on October 19, 2023, ECF No. 36, this court’s

judgment on Defendant’s Motion to Dismiss, ECF No. 9, and this Court’s sentencing

determination, ECF No. 30.

       Respectfully submitted this 30th day of October, 2023.


/s/ Edward Milo Schwab
Edward Milo Schwab, #47897
Ascend Counsel, LLC
2401 S. Downing Street
Denver, CO 80210
(303) 888-4407
milo@ascendcounsel.co

Counsel for Defendant
